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                 UNITED STATES COURT OF INTERNATIONAL TRADE
                          BEFORE: ________________, Judge




 STANLEY BLACK & DECKER, INC.,

                                Plaintiff,

                 v.

 UNITED STATES; JOSEPH R. BIDEN, JR., in
 his official capacity as PRESIDENT OF THE
 UNITED STATES; U.S. CUSTOMS & BORDER
 PROTECTION; TROY A. MILLER in his                            Court No. 21-00262
 official capacity as SENIOR OFFICIAL
 PERFORMING THE DUTIES OF
 COMMISIONER OF U.S. CUSTOMS &
 BORDER PROTECTION; UNITED STATES
 DEPARTMENT OF COMMERCE; and GINA
 M. RAIMONDO in her official capacity as
 SECRETARY OF COMMERCE,

                                Defendants.




                                             COMPLAINT

       Plaintiff Stanley Black & Decker, Inc. (“Stanley”) brings this action through its attorneys,

Neville Peterson LLP, and allege as follows:

                                 STATEMENT OF THE CASE

       1.       This case presents the same issue that was resolved by a three-judge panel of this

court in PrimeSource Building Products, Inc. v. United States, et al., Ct. No. 20-00032, 21 Ct.

Int’l Trade LEXIS 36 (Ct. Int’l Trade April 5, 2021) when it held that then President Donald J.

Trump exceeded his authority under Section 232 of the Trade Expansion Act of 1962, as

amended (19 U.S.C. § 1862) (“Section 232”), when he issued Presidential Proclamation 9980

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imposing an additional 25 percent ad valorem tariff on imports of so-called “derivative” steel

products – expressly including nails -- long after the procedural deadlines proscribing his

congressionally delegated authority under Section 232 had expired. As such, Proclamation 9980

is invalid as contrary to law.

        2.         On January 24, 2020, then President Donald J. Trump, claiming authority under

Section 232, issued Presidential Proclamation 9980. See 85 Fed. Reg. 5281 (Jan. 29, 2020),

attached as Exhibit 1 hereto.1

        3.       Either directly or through wholly-owned subsidiaries, Stanley is an importer of

steel nails, a product identified in Proclamation 9980 as a derivative article of steel subject to the

additional 25 percent tariff. Stanley is adversely affected by Proclamation 9980 because it pays

this tariff on its imports of steel nails. Moreover, Stanley was denied an opportunity to provide

input into the President’s decision to impose Section 232 duties on imports of nails, as mandated

by Section 232, because then Secretary of Commerce Wilbur Ross did not conduct the required

investigation into whether derivative steel products – including nails – posed a threat to the

national security of the United States or publish a report of the findings of such an investigation.

        4.       The President’s authority to impose tariffs under Section 232 is proscribed by

strict procedural requirements. Fundamentally, before the President may impose such tariffs, the

Secretary of Commerce is required to investigate whether imports of the product at issue threaten

the national security of the United States. After doing so, the Secretary must submit to the

President a report of his findings within 270 days of commencing the investigation and publish

any non-classified/non-proprietary information in that report in the Federal Register. 19 U.S.C. §



1
 Presidential Proclamation 9980 also imposed a 10 percent ad valorem duty on “derivative” aluminum products.
Stanley is not an importer of derivative aluminum products. However, because Proclamation 9980 is invalid as a
matter of law, it cannot be enforced against derivative articles of aluminum.

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1862(b)(3). If the Secretary’s report concludes that the subject imports do pose a threat to

national security, then the President must decide within a 90-day period whether he or she agrees

with the Secretary’s report and, if so, announce the nature and duration of any remedial action.

Id.; 19 U.S.C. § 1862(c)(1)(B).

       5.       Neither the Secretary of Commerce nor the President complied with the

procedural requirements of Section 232 prior to issuing Proclamation 9980. The Secretary of

Commerce did not investigate whether imports of derivative steel products, including nails,

threatened to impair the national security. He did not submit the required written report to the

President, nor did he cause such a report to be published in the Federal Register. The President’s

issuance of Proclamation 9980 in the absence of such a report was unlawful because the statutory

deadlines for Presidential decision and implementation passed without the required action by the

Secretary of Commerce.

       6.       The President and the Secretary of Commerce were aware of the procedural

requirements upon which Congress conditioned the President’s authority to act pursuant to

Section 232. Tellingly, the Secretary of Commerce complied with the procedural requirements

of Sections 232 when he investigated the national security effects of certain steel mill products in

2017 and submitted the requisite report to the President on January 11, 2018. See The Effect of

Imports of Steel on the National Security: An Investigation Conducted Under Section 232 of the

Trade Expansion Act of 1962, as Amended (“Steel Report”), attached as Exhibit 2 hereto. The

President then complied with the procedural requirements of Section 232 by issuing

Proclamation 9705 imposing the 25 percent additional tariff on imports of steel mill products

within the statutory deadlines. Adjusting Steel Imports Into the United States, 83 Fed. Reg 11625

(March 15, 2018).



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          7.       Neither the Secretary’s 2017 investigation nor the resulting Steel Report

addressed nails or any other derivative article of steel. Even if it had, Proclamation 9980

violated the statutory deadlines imposed by Section 232 because it was issued 744 days after the

President received the Steel Report and 640 days after the President’s authority to act based on it

had lapsed.

          8.       The President exceeded the authority delegated to him by Congress when he

issued Proclamation 9980 in violation of Section 232’s procedural deadlines. Moreover, because

the Secretary of Commerce and the President did not comply with the statute’s procedural

deadlines, Stanley, as an importer of derivative products subject to Proclamation 9980, was

denied the equal protection of the laws as guaranteed by the Fifth Amendment’s Due Process

clause.

          9.       Of direct consequence to this action, a three-judge panel of this court has held that

the President issued Proclamation 9980 after his congressionally delegated authority to adjust

imports of products identified in the Proclamation had expired. PrimeSource Building Products,

supra. Accordingly, the court invalidated Proclamation 9980 as contrary to law.

                                            JURISDICTION

          10.      Section 232 is a law “providing for tariffs, duties, fees, or other taxes on the

importation of merchandise for reasons other than the raising of revenue” as well as for

“administration and enforcement with respect to” such tariffs, duties, or fees. Thus, this action

arises out of the administration and enforcement of matters referred to in 28 U.S.C. § 1581(i)(2)

and (4).

          11.      Proclamation 9980 does not constitute a determination reviewable under this

court’s jurisdiction established by 28 U.S.C. § 1581(a)-(h). Accordingly, this court has subject



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matter jurisdiction pursuant to 28 U.S.C. § 1581(i) and may order the relief requested herein

pursuant to 28 U.S.C. § 2643.

        12.     The Administrative Procedure Act (“APA”), 5 U.S.C. § 702 provides this court

with jurisdiction to review federal agency actions brought by “person{s} suffering legal wrong

because of agency action, or adversely affected or aggrieved by agency action within the

meaning of the relevant statute.” Stanley is adversely affected by Proclamation 9980 because it

pays the additional Section 232 duty on its imports of steel nails.

                                          TIMELINESS

        13.     This action is timely brought within two years of January 24, 2020, the date on

which Proclamation 9980 was issued and Stanley’s cause of action first accrued. 28 U.S.C. §

2636(i).

                                          THE PARTIES

        14.     Plaintiff Stanley Black & Decker, Inc. is a publicly traded United States

corporation headquartered in New Britain, Connecticut. Stanley is a Fortune 500 American

manufacturer, a seller of a wide variety of industrial tools, household hardware, consumer

appliances and other products, and a provider of security services. Stanley operates more than

40 domestic facilities around the United States and has a work force in the United States of

approximately 17,000 employees. Either directly or through its wholly-owned subsidiaries,

Stanley is an importer of steel nails that Proclamation 9980 identifies as derivative products.

Stanley therefore pays the 25 percent Section 232 tariff imposed pursuant to Proclamation 9980

and is the real party in interest.

        15.     Defendant United States is the recipient of the Section 232 tariffs that are the

subject of this action and is the statutory defendant under 28 U.S.C. § 1581(i)(2) and (4).



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        16.      Defendant Joseph R. Biden, Jr. is the President of the United States. At the time

of the events complained of, the President of the United Stated States was Donald J. Trump, in

which capacity he issued Proclamation 9980. President Biden is sued in his official capacity

only.

        17.      Defendant United States Customs and Border Protection (“CBP”) is the federal

agency that administers and enforces the tariffs imposed under Section 232, including the tariffs

imposed pursuant to Proclamation 9980.

        18.      Defendant Troy Miller is the Senior Official Performing the Duties of the

Commissioner of Customs & Border Protection. When Proclamation 9980 was issued, Mark A.

Morgan was the Acting Commissioner of Customs & Border Protection, with responsibility for

overseeing collection of Section 232 tariffs paid by Stanley. Mr. Miller is sued in his official

capacity only.

        19.      Defendant United States Department of Commerce (“Commerce”) is the federal

agency responsible by statute for initiating and conducting investigations under Section 232 and

for submitting the resulting findings and recommendations to the President of the United States.

Proclamation 9980 purports to respond to certain undisclosed “assessments” and

“recommendations” made by Commerce.

        20.      Defendant Gina M. Raimondo is the Secretary of the United States Department of

Commerce. When Proclamation 9980 was issued, Wilbur Ross was the Secretary of Commerce,

and he was the individual charged by statute with responsibility conduct investigations and make

reports pursuant to Section 232. Secretary Raimondo is sued in her official capacity only.




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                                           STANDING

       21.     Stanley has standing to bring this action pursuant to 28 U.S.C. § 2631(i), which

states that “any civil action of which the Court of International Trade has jurisdiction, other than

an action specified in subsections (a)-(h), may be commenced in the court by any person

adversely affected or aggrieved by agency action within the meaning of section 702 of title 5”

(the APA). Section 702 states that “a person suffering legal wrong because of agency action, or

adversely affected or aggrieved by agency action within the meaning of a relevant statute, is

entitled to judicial review thereof.” 5 U.S.C. § 702.

       22.      Stanley directly or through one of its wholly-owned subsidiaries is the importer

of record of steel nails subject to the 25 percent tariff imposed by Proclamation 9980.

Consequently, Stanley has paid and continues to pay the 25 percent tariff imposed on its imports

of nails by Proclamation 9980. Further, Stanley suffered actual and irreparable harm from the

proclamation because it was deprived of its right to provide written comments and testimony

regarding the imposition of the 25 percent duties on its steel nails imports. As a result, Stanley is

a “person . . . adversely affected or aggrieved” by the issuance and implementation of

Proclamation 9980, within the meaning of 5 U.S.C. § 702, and has suffered and continues to

suffer actual and particularized injury resulting from the issuance and implementation of

Proclamation 9980.


                                   STATEMENT OF FACTS

Background: Section 232 of the Trade Expansion Act of 1962 Generally

       23.     Section 232, titled “Safeguarding National Security,” authorizes the President,

upon a “finding” that “an article is being imported into the United States in such quantities or

under such circumstances as to threaten to impair the national security,” to take action “to adjust


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the imports of the article and its derivatives so that such imports will not threaten to impair the

national security.” 19 U.S.C.§ 1862(c)(1)(A)(ii). Section 232 mandates the administrative

process that must be followed before the President has authority to take such action. Id. at §

1862(b).

       24.     The route to action taken under Section 232 begins when “the head of any

department or agency,” including the Secretary of Commerce, requests such action. Upon such a

request, the Secretary of Commerce “shall immediately initiate an appropriate investigation to

determine the effects on the national security of imports of the article which is the subject of

such request.” Id. at § 1861(b)(1)(A). The Bureau of Industry and Security (“BIS”) at the

Commerce Department conducts Section 232 investigations in accordance with Commerce

Department Regulations. 15 C.F.R., part 705.

       25.     The Secretary of Commerce conducts the investigation in consultation with the

Secretary of the U.S. Department of Defense (“Defense Secretary”) and other federal officials, as

appropriate, to determine the effects of the investigated imports on the national security.

Specifically, the Secretary of Commerce shall “immediately provide notice to the Secretary of

Defense of any investigation,” shall “consult with the Secretary of Defense regarding the

methodological and policy questions raised in any investigation,” and, if appropriate, shall “hold

public hearings or otherwise afford interested parties an opportunity to present information and

advice.” 19 U.S.C. §§ 1862(b)(1)(B); (b)(2)(A). The Defense Secretary “shall provide the

Secretary {of Commerce} an assessment of the defense requirements of an article” under

investigation. Id. at § 1862(b)(2)(B).

       26.     Within 270 days after initiating a Section 232 investigation, the Secretary of

Commerce “shall submit to the President” and publish in the Federal Register “a report on the



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findings of such investigation with respect to the effect of the importation of such article in such

quantities or under such circumstances upon the national security and, based on such findings,

the recommendations of the Secretary for action or inaction.” Id. at § 1862(b)(3)(A). “If the

Secretary finds that such article is being imported into the United States in such quantities or

under such circumstances as to threaten to impair the national security, the Secretary shall so

advise the President in such report.” Id.

       27.     “Any portion of the report submitted by the Secretary {of Commerce} . . . which

does not contain classified information or proprietary information shall be published in the

Federal Register.” Id. at 1862(b)(3)(B).

       28.     A report by the Commerce Secretary that an article is being imported into the

United States in such quantities or under such circumstances as to threaten to impair the national

security triggers the requirement that, within 90 days thereafter, the President “determine

whether the President concurs in the finding of the Secretary” and if so, “determine the nature

and duration of the action that, in the judgement of the President, must be taken to adjust the

imports of the article and its derivatives so that such imports will not threaten to impair the

national security.” Id. at § 1862(c)(1)(A)(i) and(ii). If the Secretary’s report does not contain a

finding that an article is being imported in such quantities or under such circumstances as to

threaten to impair the national security, the President has no authority to take any action pursuant

to Section 232. Id.

       29.     If the President concurs with the Commerce Secretary that an article is being

imported into the United States in such quantities or under such circumstances as to threaten to

impair the national security, the President must “implement” the action that he or she determines




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must be taken to adjust the subject imports “by no later than the date which is 15 days after the

date on which the president determines to take action.” Id. at § 1862(c)(1)(B).

        30.      Finally, the President must “submit to the Congress a written statement of the

reasons” explaining his determination by “no later than the date that is 30 days after the date on

which the President makes any determination.” Id. at § 1862(c)(2).

The Commerce Secretary’s Investigation of Steel Articles Pursuant to Section 232

        31.      On April 19, 2017 Secretary of Commerce Wilbur Ross initiated an investigation

pursuant to Section 232 into the effects of imports of certain steel articles on the national security

of the United States. As part of that investigation, Commerce solicited public statements, held a

public hearing, and consulted with the Defense Secretary. Notice of Request for Public

Comments and Public Hearing on Section 232 National Security Investigation of Imports of Steel

82 Fed. Reg. 19205 (April 26, 2017).

        32.      Commerce’s notice of investigation identified only steel mills products as subject

articles. It did not identify derivative articles such as steel nails as articles subject to the

investigation. Based on the notice’s sole focus on steel mill products, Stanley had no reason to

believe that its steel nails imports would be subject to the investigation or any resulting action by

the President.

        33.      On January 11, 2018, BIS issued the Steel Report, which expressly stated that the

scope of the investigation was limited to certain steel mill products described and classified

under subheadings 7206.10 through 7216.50, 7216.99 through 7302.10, 7302.40 through

7302.90, and 7304.10 through 7306.90 of the Harmonized Tariff Schedule of the United States

(“HTSUS”). Steel Report at 21. The articles described in the Steel Report did not include steel




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nails, and steel nails are not classifiable under any of the HTSUS subheadings identified in the

Steel Report as subject articles.

         34.   The Steel Report observed that the steel industry in the United States was in

decline, that shrinking capacity utilization rates were deterring capital investment, and that

imports had contributed to the decline in domestic production of steel mill products. Steel

Report at 3-5. “{T}he Secretary of Commerce conclude{d} that the present quantities and

circumstances of steel imports are responsible for a ‘weakening of our internal economy’ and

threaten to impair the national security as defined in Section 232.” Id. at 5. The Secretary

identified global excess steel capacity as a circumstance that contributes to the “weakening of

our internal economy” and thus “threaten{s} to impair” the national security as defined in

Section 232. Id. at 5, 16. The Steel Report explained that “U.S. steel production capacity has

remained flat since 2001, while other steel producing nations have increased their production

capacity, with China alone able to produce as much steel as the rest of the world combined.” Id.

at 52.

         35.   Commerce explained in the Steel Report that it had analyzed the impact of

imports of the subject articles using a broad definition of “national security” that was not limited

to “national defense,” but also included “the general security and welfare of certain industries

beyond those necessary to satisfy national defense requirements, which are critical to minimum

operations of the economy and government.” Steel Report at 1, 13-15.

         36.   On February 18, 2018 the Defense Secretary sent a letter to Commerce stating his

view that “U.S. military requirements for steel and aluminum each only represent about three

percent of U.S. production” and “therefore {the Defense Department} does not believe that the

findings in the {Steel Report} impact the ability of {Defense Department} programs to acquire



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the steel or aluminum necessary to meet national defense requirements.” Memorandum from

Sec’y of Def. to Sec’y of Commerce re: Response to Steel and Aluminum Policy

Recommendations, dated February 18, 2018 (“Defense Memo.”); attached as Exhibit 3 hereto.

The Defense Secretary also observed that the Defense Department “continues to be concerned

about the negative impact on our keys allies” of the “recommended options within the reports.”

Id.

        37.     The Secretary of Commerce nevertheless recommended that the President take

immediate action to adjust the level of imports of the steel mill products identified in the Steel

Report through quotas or tariffs. Id. at 58-61. The Secretary recommended three alternative

actions, each of which had the stated objective of enabling the U.S. steel industry to operate at an

average capacity utilization rate of 80 percent or better. Id. at 6-9.

        38.     Neither the Steel Report nor the Defense Memo identified steel nails as an

important element of the Defense Department’s national defense requirements.

The Original Proclamation on Steel Articles: Proclamation 9705

        39.     On March 8, 2018, President Donald J. Trump acted pursuant to Section 232 and

in response to the Steel Report. See Proclamation 9705, attached as Exhibit 4 hereto.

Proclamation 9705 imposed additional tariffs of 25 percent ad valorem on U.S. imports of

certain steel mill articles.

        40.     Proclamation 9705 stated that “Canada and Mexico present a special case” given

their “shared commitment {with the United States} to support . . . each other in addressing

national security concerns.” Id. Therefore, the President “determined that the necessary and

appropriate means to address the threat to national security posed by imports of steel articles




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from Canada and Mexico is to continue ongoing discussions with these countries” and exempt

them from the tariff “at least at this time.” Id.

       41.      The 25 percent additional tariffs were scheduled to take effect against imports

from all countries except Canada and Mexico on March 23, 2018.

       42.      Proclamation 9705 imposed additional tariffs on the following articles:

                a. flat-rolled products provided for in HTSUS headings 7208, 7209,
                   7210, 7211, 7212, 7225, or 7226;

                b. bars and rods provided for in headings 7213, 7214, 7215, 7227, or
                   7228; angles, shapes, and sections of {heading} 7216 (except
                   subheadings 7216.61.00, 7216.69.00, or 7216.91.00); sheet piling
                   provided for in subheading 7301.10.00; rails provided for in
                   subheading 7302.10; fish plates and sole plates provided for in
                   subheading 7302.40.00; and other products of iron or steel provided
                   for in subheading 7302.90.00;

                c. tubes, pipe, and hollow profiles provided for in heading 7304, or 7306;
                   tubes and pipes provided for in heading 7305;

                d. ingots and other primary forms and semi-finished products provided
                   for in heading 7206, 7207, or7224; and

                e. products of stainless steel provided for in heading 7218, 7219, 7220,
                   7221, 7222, or 7223.

Id. at 11629.

       43.      Proclamation 9705 made no reference to steel nails, to derivative articles of steel

generally, or to the specific derivative articles of steel later set out in Proclamation 9980.

       44.      The President subsequently exempted certain countries from the imposition of

tariffs on imports of articles pursuant to Proclamation 9705. Adjusting Imports of Steel Into the

United States, 83 Fed. Reg. 20683, 20685 (May 7, 2018) (Proclamation 9740 exempting South

Korea); Adjusting Imports of Steel Into the United States, 83 Fed. Reg. 25857, 25858 (June 5,

2018) (Proclamation 9759 exempting Argentina and Brazil subject to quotas and exempting



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Austral without quotas); Adjusting Imports of Steel Into the United States, 84 Fed. Reg. 23987,

23988 (May 23, 2019) (Proclamation 9894 exempting Canada and Mexico). As a result articles

of steel from Argentina, Australia, Brazil, Canada, Mexico, and South Korea are currently

exempt from the 25 percent tariff imposed by proclamation 9705.

The Proclamation on “Derivative” Steel Articles: Proclamation 9980

       45.     Nearly two years after issuing Proclamation 9705, and without prior notice, the

President issued Proclamation 9980 on January 24, 2020, imposing, inter alia, a 25 percent tariff

on U.S. imports of certain “derivative” articles manufactured from steel, effective February 8,

2020. 85 Fed. Reg. 5281 (January 29, 2020).

       46.     The President cited the Steel Report and his instructions in Proclamation 9705

directing the Secretary of Commerce to inform him of any further action needed under Section

232 as his legal authority to issue Proclamation 9980. Id.

       47.     Proclamation 9980 states that further action under Section 232 is warranted

because the Secretary of Commerce “informed” the President that the “domestic steel producers’

capacity utilization has not stabilized for an extended period of time at or above . . . 80 percent.”

Id.

       48.     Proclamation 9980 also states that the Secretary of Commerce “informed” the

President that “{a}lthough imports of aluminum articles and steel articles {covered by the prior

proclamations} have declined since the implementation of the tariffs and quotas {imposed

pursuant to those proclamations} . . . imports of certain derivatives of aluminum articles and

imports of certain derivatives of steel articles have significantly increased,” and that the “net

effect of the increase of imports of these derivatives has been to erode the customer base for U.S.

producers of aluminum and steel.” Id.



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        49.      Proclamation 9980 further states that “{i}t is the Secretary’s assessment that

foreign producers of these derivative articles have increased shipments of such articles to the

United States to circumvent the duties on aluminum articles and steel articles imposed in

Proclamation 9704 and 9705, and that imports of these derivative articles threaten to undermine

the action taken to address the risk to the national security of the United States found in

Proclamation 9704 and Proclamation 9705.” Id.

        50.      Proclamation 9980 imposed 25 percent tariffs on the following derivative articles

of steel:

                 a. Nails, tacks (other than thumb tacks), drawing pins, corrugated nails,
                    staples (other than those of heading 8305) and similar articles, of iron
                    or steel, whether or not with heads of other material (excluding such
                    articles with heads of copper), suitable for use in powder-actuated
                    handtools, threaded (described in subheading 7317.00.30);

                 b. Nails, tacks (other than thumb tacks), drawing pins, corrugated nails,
                    staples (other than those of heading 8305) and similar articles, of iron
                    or steel, whether or not with heads of other material (excluding such
                    articles with heads of copper), of one piece construction, whether or
                    not made of round wire; the foregoing described in statistical reporting
                    numbers 7317.00.55.03, 7317.00.55.05, 7317.00.55.07, 7317.00.55.60,
                    7317.00.55.80, or 7317.00.65.60 only and not in other statistical
                    reporting numbers of subheadings 7317.00.55 and 7317.00.55.65;

                 c. Bumper stamping of steel, the foregoing comprising parts and
                    accessories of the motor vehicles of headings 8701 to 8705 (described
                    in subheading 8708.10.30); and

                 d. Body stampings of steel, for tractors suitable for agricultural use
                    (described in subheading 8708.29.21.

Id. at 5290-91

        51.      These tariffs do not apply to derivative articles of steel from countries previously

exempted from the 25 percent tariff imposed by Proclamation 9705; i.e., Argentina, Australia,

Brazil, Canada, Mexico, and South Korea. Proclamation 9980 provided no rationale for



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exempting derivative articles of steel from Argentina, Australia, Brazil, Canada, Mexico, and

South Korea.

       52.     These articles were selected because they met the following criteria set forth in

Proclamation 9980: (a) the aluminum or steel article represents, on average, two-thirds or more

of the total cost of materials of the derivative article; (b) import volumes of the derivative article

increased year-to-year since June 1, 2018 . . . in comparison to the import volumes of such

derivative article during the two preceding years; and (c) import volumes of such derivative

article following imposition of the tariffs exceeded the 4 percent average increase in the total

volume of goods imported into the United States during the same period since June 1, 2018. Id.

at 5282.

Proclamation 9980 Was Not Authorized Pursuant to Section 232

       53.     The President promulgated Proclamation 9980 more than 600 days after the

window for him to take action had closed. This action constitutes a clear violation of the

statutory constraints on his authority imposed by Section 232. See Transpacific Steel v. United

States, 2019 Ct. Int’l Trade LEXIS 142 at *11 (November 15, 2019) (“the statute . . . cabins the

President’s power . . . procedurally, by setting the time in which to act”).

       54.     The Secretary of Commerce did not make available to the public any information

that he may have provided to the President pursuant to Section 232 that could have supported the

President’s promulgation of Proclamation 9980.

       55.     The Secretary of Commerce did not investigate the effect of imports of derivative

articles of steel or aluminum on the national security of the United States under Section 232, nor

did he submit to the President a report of such investigation.




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       56.     Neither BIS’s investigation into the effects of imports of certain steel mill articles

on the national security of the United States nor the resulting Steel Report, on which

Proclamation 9980 purports to rely, involved any of the derivative articles of steel subject to

Proclamation 9980, or derivative articles of steel generally.

       57.     Pursuant to Section 232, BIS was required to complete its investigation within

270 days of April 19, 2017, a period that expired on January 14, 2018. Section 232 does not

authorize the Commerce Secretary to make additional finding or recommendations to the

President regarding the April 19, 2017 investigation after that date.

       58.     The Steel Report was published more than two years earlier than the date on

which Proclamation 9980 was promulgated.

       59.     Pursuant to Section 232, the President was required to announce the nature and

duration of any remedial actions to be taken based on the Steel Report within 90 days of the

issuance of the Steel Report, a period that expired on April 11, 2018. Section 232 does not

authorize the President to make additional determinations or to take any additional remedial

actions based on the Steel Report after that date.

       60.     Through Proclamation 9705, the President announced his determination based on

the Steel Report on March 8, 2018 and implemented remedial action on March 23, 2018.

Pursuant to Section 232, the President was required to implement any action based on

Proclamation 9705 within 15 days of March 8, 2018, a period that expired on March 23, 2018.

Section 232 does not authorize the President to implement remedial actions pursuant to

Proclamation 9705 after that date.




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The Tariffs Imposed On Derivative Products Are Not Rationally Related to
the Purported Threat to the National Security of the United States

        61.     Proclamation 9980 sets out no findings that the performance of any United States

industry producing any of the identified derivative articles of steel – including steel nails – had

experienced economic decline.

        62.     Proclamation 9980 sets out no findings showing the effect on the national security

of the United States based on the economic decline of any domestic industry producing one or

more of the identified derivative articles of steel – including steel nails.

        63.     Proclamation 9980 identified only one reason supporting its conclusion that

imports of the derivative articles pose a threat to national security: importation of derivative

articles, in lieu of domestic manufacturing of such derivative articles, depresses demand for

domestic articles of steel that could be used in the domestic production of derivative articles.

The derivative articles of steel identified in Proclamation 9980, however, represent a negligible

portion of total U.S. imports of derivative articles of steel and a negligible portion of the total

U.S. market for derivative articles of steel.

        64.     Proclamation 9980 omitted numerous derivative articles of steel that represent a

far greater portion of overall U.S. imports of derivative articles of steel and a far greater portion

of the overall U.S. market for derivative articles of steel. For example, imports of stranded steel

wire and other articles classified under HTSUS heading 7312 – which are not subject to

Proclamation 9980 – from countries other than Argentina, Australia, Brazil, Canada, Mexico,

and South Korea account for about three percent by value of imports of all derivative articles

from countries other than Argentina, Australia, Brazil, Canada, Mexico, and South Korea.

        65.     Moreover, in selecting the derivative articles of steel identified in Proclamation

9980, the President did not apply the criteria set forth in Proclamation 9980, which purported to

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apply to any derivative articles of steel with respect to which: (a) steel represents, on average,

two-thirds or more of the total cost of materials of the derivative product; (b) import volumes of

such derivative article increased year-to-year since June 1, 2018, in comparison to import

volumes of such derivative article during the two preceding years; and (c) import volumes of

such derivative article following the imposition of the tariffs exceeded the four percent average

increase in the total volume of goods imported into the United States during the same period

since June 1, 2018. For example, stranded steel wire and other articles classifiable under HTSUS

heading 7312 are articles for which the steel content represents, on average, more than two-thirds

of the total cost of materials and for which the value of imports increased by 41 percent over the

twenty-four month period, and 28 percent over the twelve-month period, ending June 1, 2019.

Such derivative articles were not included in the scope of the derivative articles subject to the 25

percent tariff under Proclamation 9980.

       66.     Proclamation 9980 provides no rationale for exempting derivative articles

imported from Argentina, Australia, Brazil, Canada, Mexico, and South Korea.

       67.     Articles of steel from these countries were exempted from the tariffs imposed by

Proclamation 9705 based on quotas imposed on such articles or on other agreements between the

United States and each exempted country as to trade in such articles. Proclamation 9980,

however, does not impose quotas on derivative articles of steel from Argentina, Australia, Brazil,

Canada, Mexico, and South Korea, nor does Proclamation 9980 indicate any on-going

negotiations with Argentina, Australia, Brazil, Canada, Mexico, or South Korea that would

otherwise mitigate any effect that importation of derivative articles from these countries might

otherwise have.




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          68.   The exemptions applicable to derivative articles from Argentina, Australia, Brazil,

Canada, Mexico, and South Korea account for about 40 percent of imports of those derivative

articles into the United States. See Chad P. Bown, Trump’s Steel and Aluminum Tariffs are

Cascading Out of Control, Peterson Institute For International Economics (February 4, 2020),

attached as Exhibit 5 hereto.

                                  STATEMENT OF CLAIMS

                                COUNT I – ULTRA VIRES ACTS

          69.   Paragraphs 1 through 68 are incorporated herein by reference.

          70.   Congress has the exclusive “power to lay and collect taxes, duties, imports, and

excises” and “to regulate Commerce with foreign nations.” U.S. Constitution, Art 1, § 8.

          71.   Through Section 232, Congress has delegated to the President certain authority to

regulate commerce with foreign nations in response to imports into the United States in such

quantities or under such circumstances as to threaten to impair the national security of the United

States.

          72.   Section 232 comprises the President’s only statutory authority to regulate

commerce with foreign nations in response to imports into the United States when those imports

are in such quantities or under such circumstances as to threaten to impair the national security of

the United States.

          73.   The President has no independent constitutional authority to regulate commerce

with foreign nations in response to imports into the United States when those imports are in such

quantities or under such circumstances as to threaten to impair the national security of the United

States.




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       74.     Section 232 mandates the procedure that the Secretary of Commerce and the

President must follow before the President has authority to take any action to adjust imports into

the United States when those imports are in such quantities or under such circumstances as to

threaten to impair the national security of the United States.

       75.     Section 232 also mandates the determinations that the Secretary of Commerce and

the President must make before the President has authority to take any action with respect to

imports into the United States when those imports are in such quantities or under such

circumstances as to threaten to impair the national security of the United States.

       76.     With respect to the Secretary of Commerce, Section 232 requires that the

Secretary “immediately initiate an appropriate investigation,” and “immediately provide notice

to the Secretary of Defense;” that “in the course of {the} investigation” the Secretary shall

“consult with the Secretary of Defense” and “appropriate officers of the United States,” if

appropriate, and “after reasonable notice, hold public hearings or otherwise afford interested

parties an opportunity to present information and advice;” and “no later than . . . 270 days after

the date on which {the} investigation is initiated . . ., submit to the President a report on the

findings of sch investigation,” which “shall be published in the Federal Register” except for any

portion that contains classified or proprietary information. 19 U.S.C. § 1682(b)(2)-(3).

       77.     With respect to the President, Section 232 requires that “within 90 days after

receiving a report” under Section 232 in which the Secretary of Commerce finds that an article is

being imported into the United States in such quantities or under such circumstances as to

threaten to impair the national security,” the President shall “determine whether {he} concurs”

and, if so, “determine the nature and duration of the action that . . . must be taken to adjust the

imports of the article and its derivatives so that such imports will not threaten to impair the



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national security.” 19 U.S.C. § 1682(c)(1)(A). The President must then implement any such

action “no later than the date that is 15 days after the day on which the president determines to

take action.” Id. at § 1682(c)(1)(B).

        78.    Instead of conforming to this statutorily mandated process, the Secretary of

Commerce merely “informed” the President that domestic steel and aluminum capacity

utilization had not stabilized at or above the 80 percent level, “informed” the President that

imports of certain derivative articles of steel and aluminum had increased, made an “assessment”

that such imports of these derivative articles “threaten to undermine the actions taken” by the

President in Proclamations 9704 and 9705, and “assessed” that reducing imports of certain

derivative articles would “address the threatened impairment of the national security of the

United States.” 85 Fed. Reg. 5281-82

        79.    The Secretary of Commerce did not provide the President with such

“information” or make such “assessments” pursuant to an investigation conducted under Section

232 prior to promulgation of Proclamation 9980, nor had the Secretary done so in any report

submitted within 270 days of the initiation of an investigation under Section 232.

        80.    No record evidence exists that the Secretary of Commerce notified or consulted

with the Secretary of Defense or any other officer of the United States prior to the President

promulgating Proclamation 9980, as Section 232 requires.

        81.    The Secretary of Commerce did not notify the public or afford interested parties

an opportunity for public comment on the issue before the President promulgated Proclamation

9980.

        82.    No portion of the Secretary of Commerce’s “information” or “assessment” was

published in the Federal Register or any other place.



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          83.   The Secretary of Commerce thus failed to comply with any of the procedures

mandated by Section 232.

          84.   The “information” provided by the Secretary of Commerce and the “assessment”

made by him were acts taken outside his legal authority. As such, they did not comprise an

action under Section 232 on which the President could adjust imports of an article and its

derivatives so that such imports would not threaten to impair the national security of the United

States.

          85.   The Secretary of Commerce submitted the Steel Report to the President in January

2018 – more than two years before the President promulgated Proclamation 9980. The Steel

Report cannot form the basis for Proclamation 9980 because the time elapsed between the Steel

Report and Proclamation 9980 far exceeds the 90 days permitted by Section 232 for the

President to announce the nature and duration of any remedial action.

          86.   The President promulgated Proclamation 9980 on January 24, 2020, nearly two

years after the President promulgated Proclamation 9705 on March 8, 2018. Proclamation 9705

cannot comprise the basis for Proclamation 9980 because the time elapsed between Proclamation

9705 and Proclamation 9980 far exceeds the fifteen days permitted by Section 232 for

implementing any remedial action determined by the President.

          87.   The issuance, implementation, and enforcement of Proclamation 9980 thus

violates the requirements mandated by Section 232.

                    COUNT II – ADMINISTRATIVE PROCEDURE ACT

          88.   Paragraphs 1 through 87 are incorporated herein by reference.

          89.   The “assessment” the Secretary of Commerce and the “information” provided to

the President by him were arbitrary and capricious and otherwise not in accordance with law in



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violation of 5 U.S.C. § 706(2)(A) because the Secretary of Commerce did not investigate the

effect of imports of derivative articles of steel or aluminum on the national security of the United

States under Section 232, nor did he submit to the President a report of such investigation and

utterly failed to provide a reasoned basis for his assessment.

        90.     The Secretary stated no basis for his “assessment” beyond the Steel Report

completed two years earlier that did not evaluate the impact of derivative articles of steel.

        91.     Accordingly, the Secretary’s “assessment” and “information” concerning

derivative steel products, including steel nails, are arbitrary and capricious and otherwise not in

accordance with law.

                              COUNT III – EQUAL PROTECTION

        92.     Paragraphs 1 through 91 are incorporated herein by reference.

        93.     Equal protection under the laws of the United States is guaranteed by the Fifth

Amendment’s Due Process requirement, which prohibits the government from unjustifiably

treating similarly situated persons differently. Bolling v. Sharpe, 347 U.S. 497,499 (1954). A

classification that “neither burdens a fundamental right nor targets a suspect class” will be upheld

“so long as it bears a rational relationship to some legitimate end.” Romer v. Evans, 517 U.S.

620, 631 (1996); Armour v. City of Indianapolis, 566 U.S. 673, 680 (2012).

        94.     Stanley is in all relevant respects similarly situated to importers in the United

States of derivative articles of steel that are (a) not subject to the 25 percent tariff, despite such

derivative articles meeting the three criteria for inclusion identified by the President in

Proclamation 9705, or (b) are listed in Proclamation 9980 but exempt from the 25 percent tariff

because they are imported from Argentina, Australia, Brazil, Canada, Mexico, or South Korea.




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       95.     Proclamation 9980 purports to remove the threatened impairment of the national

security of the United States by adjusting imports of derivative articles of steel that could

displace demand for domestic steel mill articles used to manufacture such derivative articles.

The inclusion of steel nails as derivative articles subject to Proclamation 9980, while other

derivative articles are exempt from Proclamation 9980 despite (a) meeting the three criteria for

inclusion set forth on Proclamation 9980 and (b) despite displacing a greater portion of domestic

demand for articles of steel than do imports of steel nails, is not rationally related to the stated

purpose of Proclamation 9980.

       96.     The inclusion in Proclamation 9980 of certain derivative articles of steel

manufactured in certain countries and the exclusion of identical derivative articles of steel from

Argentina, Australia, Brazil, Canada, Mexico, and South Korea despite the fact that derivative

articles of steel manufactured in some of the exempted countries displace a greater portion of

domestic demand for articles of steel is not rationally related to the stated purpose of

Proclamation 9980.

       97.     Because it serves no legitimate governmental purpose to include Stanley’s nails

within Proclamation 9980 but exclude imports of steel articles that are similarly situated under

the Secretary of Commerce’s “assessment,” Proclamation 9980 violates Equal Protection and is

unconstitutional.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for this Court to:

(1) Enter judgement in favor of Stanley Black & Decker, Inc. and its subsidiaries, and declare

   Proclamation 9980 null and void;




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(2) Permanently enjoin Defendants from enforcing Proclamation 9980 against Stanley Black &

   Decker and its subsidiaries;

(3) Order U.S. Customs & Border Protection to refund to Stanley Black & Decker and its

   subsidiaries any duties collected pursuant to Proclamation 9980 with interest as provided by

   law; and

(4) Grant such other additional relief as this Court may deem just and proper.

                                              Respectfully submitted,

                                              /s/ Lawrence J. Bogard
                                              _________________________
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May 27, 2021




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